                    Case 23-06458            Doc 1       Filed 05/16/23 Entered 05/16/23 16:06:09                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Mirage Restaurant, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  10255 Irving Park Road
                                  Schiller Park, IL 60176
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://themiragerestaurant.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Mirage Restaurant, Inc.                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Mirage Restaurant, Inc.                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Mirage Restaurant, Inc.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 16, 2023
                                                  MM / DD / YYYY


                             X   /s/ James Fountalas                                                      James Fountalas
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Robert R. Benjamin                                                    Date May 16, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robert R. Benjamin
                                 Printed name

                                 Golan Christie Taglia LLP
                                 Firm name

                                 70 W. Madison St., Suite 1500
                                 Chicago, IL 60602
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (312) 263-2300                Email address      rrbenjamin@gct.law

                                 0170429 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Mirage Restaurant, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 16, 2023                    X /s/ James Fountalas
                                                           Signature of individual signing on behalf of debtor

                                                            James Fountalas
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Mirage Restaurant, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                       Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Capital One                                         Credit card               Unliquidated                                                                      $16,641.57
 P.O. Box 4069                                       purchases
 Carol Stream, IL          1-888-464-3220
 60197-4069
 Capital One                                         Credit card               Unliquidated                                                                        $8,759.96
 P.O. Box 4069                                       purchases
 Carol Stream, IL          1-888-464-3220
 60197-4069
 Covered Affairs                               Goods and                       Unliquidated                                                                        $6,238.00
 2642 Haymond St.          sales@coveredaffa Services
 River Grove, IL           irs.com
 60171                     (708) 452-8334
 Elite Chair Covers                            Goods and                       Unliquidated                                                                      $10,000.00
 7533 98th Place           office@elitechairco Services
 Bridgeview, IL            vers.us
 60455                     (708) 233-9191
 Joseph Marroquin          Brian Monico        202 L 009607                    Unliquidated                                                                              $0.00
 c/o Hale & Monico,                                                            Disputed
 LLC                       btm@halemonico.c
 53 W. Jackson,            om
 Suite 337                 (312) 870-6912
 Chicago, IL 60604
 U.S. Bank                 PPP Attn: SAG             PPP Loan                                                                                                  $282,611.00
 SBA Express ID
 PO Box 790179
 Saint Louis, MO           (503) 401-5640
 63179-0179
 U.S. Bank                 PPP Attn: SAG             PPP Loan                                                                                                  $204,910.30
 SBA Express ID
 PO Box 790179
 Saint Louis, MO           (503) 401-5640
 63179-0179
 U.S. Small Business       James E. Rivera,          June 14, 2020                                         $166,334.60                 $98,778.64                $67,555.96
 Administration            Exec. Dir.                Loan Agreement
 2 North Street, Suite                               UCC filed June 28,
 320                                                 2020
 Birmingham, AL            205-290-7765
 35203

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Mirage Restaurant, Inc.                                                               Case number (if known)
           Name




Official form 204                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims               page 2
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 Fill in this information to identify the case:

 Debtor name            Mirage Restaurant, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            98,778.64

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            98,778.64


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           166,334.60


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           529,160.83


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             695,495.43




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name          Mirage Restaurant, Inc.

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest
2.         Cash on hand                                                                                                                                $800.00



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     U.S. Bank                                         Payroll                               9392                                       $572.62




           3.2.     U.S. Bank                                         Operating Account                     4101                                    $28,742.95



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                     $30,115.57
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor       Mirage Restaurant, Inc.                                                        Case number (If known)
             Name

11.       Accounts receivable
          11a. 90 days old or less:                    19,022.07       -                                   0.00 = ....                   $19,022.07
                                      face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                           $19,022.07
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used     Current value of
                                             physical inventory            debtor's interest         for current value         debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Perishables                        May 2023                                                Liquidation                          $6,978.00


          Liquor                             May 2023                                                Liquidation                          $4,123.00



23.       Total of Part 5.                                                                                                           $11,101.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
              No
              Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                            Valuation method      Liquidation        Current Value                       $9435.00

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 2
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Debtor        Mirage Restaurant, Inc.                                                        Case number (If known)
              Name



      No. Go to Part 8.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used     Current value of
                                                                          debtor's interest          for current value         debtor's interest
                                                                          (Where available)

39.        Office furniture
           Tables, stools, chairs, booths                                                            Liquidation                         $14,700.00



40.        Office fixtures
           Light fixtures                                                                            Liquidation                          $3,000.00



41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           Refrigerators, grill, stoves, ovens, fryers,
           tableware, etc.                                                                           Liquidation                         $20,840.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                             $38,540.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used     Current value of
                                                                          debtor's interest          for current value         debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor        Mirage Restaurant, Inc.                                                      Case number (If known)
              Name

           Website - themiragerestaurant.com                                                       Liquidation                              $0.00



62.        Licenses, franchises, and royalties
           Schiller Park liquor license                                                                                                     $0.00


           Illinois liquor license                                                                                                          $0.00


           Schiller Park business license                                                                                                   $0.00


           Illinois Business Authorization                                                                                                  $0.00



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
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Debtor          Mirage Restaurant, Inc.                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $30,115.57

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $19,022.07

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $11,101.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $38,540.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $98,778.64          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $98,778.64




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 5
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                                                                Document     Page 15 of 50
Fill in this information to identify the case:

Debtor name          Mirage Restaurant, Inc.

United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
       U.S. Small Business
2.1                                                                                                                          $166,334.60                 $98,778.64
       Administration                               Describe debtor's property that is subject to a lien
       Creditor's Name                              June 14, 2020 Loan Agreement
                                                    UCC filed June 28, 2020
       2 North Street, Suite 320
       Birmingham, AL 35203
       Creditor's mailing address                   Describe the lien
                                                    Economic Injury Disaster Loan
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       6/14/2020                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.             $166,334.60

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        U.S. Small Business Administration
        14925 Kingsport Road                                                                                  Line   2.1
        Fort Worth, TX 76155

        U.S. Small Business Administration
        Attn: James E. Rivera, Exec. Dir.                                                                     Line   2.1
        409 3rd Street, SW, Suite 6050
        Washington, DC 20416

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
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Debtor    Mirage Restaurant, Inc.                                           Case number (if known)
          Name




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property               page 2 of 2
                Case 23-06458                 Doc 1          Filed 05/16/23 Entered 05/16/23 16:06:09                                             Desc Main
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Fill in this information to identify the case:

Debtor name        Mirage Restaurant, Inc.

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $16,641.57
          Capital One                                                          Contingent
          P.O. Box 4069                                                        Unliquidated
          Carol Stream, IL 60197-4069
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Credit card purchases
          Last 4 digits of account number    9236
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $8,759.96
          Capital One                                                          Contingent
          P.O. Box 4069                                                        Unliquidated
          Carol Stream, IL 60197-4069
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Credit card purchases
          Last 4 digits of account number    6556
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $6,238.00
          Covered Affairs                                                      Contingent
          2642 Haymond St.                                                     Unliquidated
          River Grove, IL 60171
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Goods and Services
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $10,000.00
          Elite Chair Covers                                                   Contingent
          7533 98th Place                                                      Unliquidated
          Bridgeview, IL 60455
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Goods and Services
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 3
                                                                                                          24966
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Debtor       Mirage Restaurant, Inc.                                                                Case number (if known)
             Name

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Joseph Marroquin                                                     Contingent
          c/o Hale & Monico, LLC                                               Unliquidated
          53 W. Jackson, Suite 337
          Chicago, IL 60604                                                    Disputed

          Date(s) debt was incurred                                        Basis for the claim:    202 L 009607
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Nancy Bennett                                                        Contingent
          c/o The Memmen Law Firm, LLC                                         Unliquidated
          505 N. LaSalle, Suite 500
                                                                               Disputed
          Chicago, IL 60654
          Date(s) debt was incurred
                                                                           Basis for the claim:    2022 L 008026 - respondent in discovery
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Sundra Bennett                                                       Contingent
          c/o The Memmen Law Firm, LLC                                         Unliquidated
          505 N. LaSalle, Suite 500
                                                                               Disputed
          Chicago, IL 60654
          Date(s) debt was incurred
                                                                           Basis for the claim:    2022 L 008026 - respondent in discovery
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $204,910.30
          U.S. Bank                                                            Contingent
          SBA Express ID                                                       Unliquidated
          PO Box 790179                                                        Disputed
          Saint Louis, MO 63179-0179
                                                                           Basis for the claim:    PPP Loan
          Date(s) debt was incurred 4/30/2020
          Last 4 digits of account number 5285                             Is the claim subject to offset?         No    Yes


3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $282,611.00
          U.S. Bank                                                            Contingent
          SBA Express ID                                                       Unliquidated
          PO Box 790179                                                        Disputed
          Saint Louis, MO 63179-0179
                                                                           Basis for the claim:    PPP Loan
          Date(s) debt was incurred 4/18/2021
          Last 4 digits of account number 0172                             Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       U.S Bank, National Association
          Consumer Default Operations                                                               Line     3.9
          PO Box 5830
                                                                                                           Not listed. Explain
          Portland, OR 97228-5830

4.2       U.S. Bank National Association
          Consumer Default Operations                                                               Line     3.8
          PO Box 5830
                                                                                                           Not listed. Explain
          Portland, OR 97228-5830



Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
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Debtor      Mirage Restaurant, Inc.                                                     Case number (if known)
            Name

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                          0.00
5b. Total claims from Part 2                                                              5b.   +   $                    529,160.83

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                      529,160.83




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 3 of 3
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Fill in this information to identify the case:

Debtor name       Mirage Restaurant, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease of 10255 W.
           lease is for and the nature of        Irving Park Road,
           the debtor's interest                 Schiller Park, IL 60176
                                                 at $12,824.35 through
                                                 September 15, 2025.
                                                 The monthly rent
                                                 amount increases to
                                                 $13,209.10 from
                                                 September 16, 2023 to
                                                 September 15, 2024
                                                 and to $13,605.35 from
                                                 September 16, 2024 to
                                                 September 15, 2025.
               State the term remaining          28 months
                                                                                    Schiller Park Hospitality, LLC
           List the contract number of any                                          4909 Oakton Street
                 government contract                                                Skokie, IL 60077




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Mirage Restaurant, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    James Fountalas             5641 N. Crescent                                          Capital One                        D
                                      Norwood Park, IL 60631                                                                       E/F       3.1
                                                                                                                                   G




   2.2    James Fountalas             5641 N. Crescent                                          Capital One                        D
                                      Norwood Park, IL 60631                                                                       E/F       3.2
                                                                                                                                   G




   2.3    Schiller Park               c/o Izzo, Rappaport & Stiefbold                           Joseph Marroquin                   D
          Hospitality, LLC            33 N. Dearborn St., Suite 1605                                                               E/F       3.5
                                      Chicago, IL 60602
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Mirage Restaurant, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $181,976.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $630,146.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $452,395.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Mirage Restaurant, Inc.                                                        Case number (if known)



      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.1.
              Sysco                                            February                         $10,334.81           Secured debt
              250 Wieboldt Drive                               2023-May                                              Unsecured loan repayments
              Des Plaines, IL 60016                            2023
                                                                                                                     Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.2.
              Restaurant Depot                                 February                         $24,173.35           Secured debt
              2166 Mannheim Rd.                                2023-May                                              Unsecured loan repayments
              Des Plaines, IL 60018                            2023
                                                                                                                     Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.3.
              Illinois Department of Revenue                   February                         $14,792.17           Secured debt
              PO Box 19035                                     2023-May                                              Unsecured loan repayments
              Springfield, IL 62794                            2023                                                  Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other Taxes


      3.4.
              Elite Chair Covers                               February                         $13,121.00           Secured debt
              7533 98th Place                                  2023-May                                              Unsecured loan repayments
              Bridgeview, IL 60455                             2023
                                                                                                                     Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.5.
              Capital One                                      February                           $9,600.00          Secured debt
              P.O. Box 4069                                    2023-May                                              Unsecured loan repayments
              Carol Stream, IL 60197                           2023                                                  Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other Credit card payments


      3.6.
              ComEd                                            February                           $8,714.83          Secured debt
              PO Box 6111                                      2023-May                                              Unsecured loan repayments
              Carol Stream, IL 60197-6111                      2023                                                  Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.7.
              Shift4 Payments, Inc.                            February                           $8,103.54          Secured debt
              2202 N. Irving Street                            2023-May                                              Unsecured loan repayments
              Allentown, PA 18109                              2023                                                  Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.8.
              US Foods                                         February                         $17,029.26           Secured debt
              PO Box 98420                                     2023-May                                              Unsecured loan repayments
              Chicago, IL 60693                                2023
                                                                                                                     Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other




Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 2
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Debtor       Mirage Restaurant, Inc.                                                            Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Hiotikos, Ltd, et al. v. Society         Contract                    USDC - Northern District of                   Pending
              Insurance                                                            Illinois                                      On appeal
              22 cv 01104
                                                                                                                                 Concluded

      7.2.    Nancy Bennett and Sundra                 Personal Injury             Circuit Court of Cook                         Pending
              Bennett v. Radoslaw                                                  County                                        On appeal
              Markowicz and Allegra
                                                                                                                                 Concluded
              Banquet
              2022 L 008026

      7.3.    Marroquin v. Schiller Park               Civil                       Circuit Court of Cook                         Pending
              Hospitality LLC                                                      County                                        On appeal
              2020 L 9607
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
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9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address            Description of the gifts or contributions                  Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Golan Christie Taglia LLP
                70 W. Madison St., Suite 1500
                Chicago, IL 60602                        Attorney Fees                                                 12/30/2022                $15,000.00

                Email or website address
                rrbenjamin@gct.law

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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Debtor      Mirage Restaurant, Inc.                                                              Case number (if known)



14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


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Debtor      Mirage Restaurant, Inc.                                                             Case number (if known)




         None

      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?
      Public Storage                                        James Fountalas                       Holiday decorations                           No
      9700 Irving Park Rd.                                  5641 N. Crescent                                                                    Yes
      Schiller Park, IL 60176                               Norwood Park, IL 60631



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

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Debtor      Mirage Restaurant, Inc.                                                             Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Logistika Solutions Corp.                                                                                          May 2021-May 2023
                    1442 Techny Rd.
                    Northbrook, IL 60062

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Logistika Solutions Corp.                                                                                          May 2021-May 2023
                    1442 Techny Rd.
                    Northbrook, IL 60062

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Logistika Solutions Corp.
                    1442 Techny Rd.
                    Northbrook, IL 60062

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      James Fountalas                         5641 N. Crescent                                    President                                     85
                                              Norwood Park, IL 60631

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Voula Nowicki                           5509 N. Paris Ave.                                  Shareholder                                   15
                                              Chicago, IL 60656

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Debtor      Mirage Restaurant, Inc.                                                             Case number (if known)




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value
      30.1 James Fountalas                                                                                                          Wages,
      .    5641 N. Crescent                                                                                      May 2022-May       repayment of
             Norwood Park, IL 60631                    $68,604.83                                                2023               shareholder loans

             Relationship to debtor
             President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         May 16, 2023

/s/ James Fountalas                                             James Fountalas
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                                                      United States Bankruptcy Court
                                                              Northern District of Illinois
 In re    Mirage Restaurant, Inc.                                                                                 Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
James Fountalas                                             Common                85%
5641 N. Crescent
Norwood Park, IL 60631

Voula Nowicki                                               Common                15%
5509 N. Paris Ave.
Chicago, IL 60656


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date May 16, 2023                                                        Signature /s/ James Fountalas
                                                                                        James Fountalas

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                          United States Bankruptcy Court
                                              Northern District of Illinois
In re   Mirage Restaurant, Inc.                                                  Case No.
                                                           Debtor(s)             Chapter    11




                                   VERIFICATION OF CREDITOR MATRIX

                                                                 Number of Creditors:                           18




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   May 16, 2023                            /s/ James Fountalas
                                                James Fountalas/President
                                                Signer/Title
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                      Capital One
                      P.O. Box 4069
                      Carol Stream, IL 60197-4069


                      Capital One
                      P.O. Box 4069
                      Carol Stream, IL 60197-4069


                      Covered Affairs
                      2642 Haymond St.
                      River Grove, IL 60171


                      Elite Chair Covers
                      7533 98th Place
                      Bridgeview, IL 60455


                      James Fountalas
                      5641 N. Crescent
                      Norwood Park, IL 60631


                      James Fountalas
                      5641 N. Crescent
                      Norwood Park, IL 60631


                      Joseph Marroquin
                      c/o Hale & Monico, LLC
                      53 W. Jackson, Suite 337
                      Chicago, IL 60604


                      Nancy Bennett
                      c/o The Memmen Law Firm, LLC
                      505 N. LaSalle, Suite 500
                      Chicago, IL 60654


                      Schiller Park Hospitality, LLC
                      4909 Oakton Street
                      Skokie, IL 60077


                      Schiller Park Hospitality, LLC
                      c/o Izzo, Rappaport & Stiefbold
                      33 N. Dearborn St., Suite 1605
                      Chicago, IL 60602
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                  Sundra Bennett
                  c/o The Memmen Law Firm, LLC
                  505 N. LaSalle, Suite 500
                  Chicago, IL 60654


                  U.S Bank, National Association
                  Consumer Default Operations
                  PO Box 5830
                  Portland, OR 97228-5830


                  U.S. Bank
                  SBA Express ID
                  PO Box 790179
                  Saint Louis, MO 63179-0179


                  U.S. Bank
                  SBA Express ID
                  PO Box 790179
                  Saint Louis, MO 63179-0179


                  U.S. Bank National Association
                  Consumer Default Operations
                  PO Box 5830
                  Portland, OR 97228-5830


                  U.S. Small Business Administration
                  2 North Street, Suite 320
                  Birmingham, AL 35203


                  U.S. Small Business Administration
                  14925 Kingsport Road
                  Fort Worth, TX 76155


                  U.S. Small Business Administration
                  Attn: James E. Rivera, Exec. Dir.
                  409 3rd Street, SW, Suite 6050
                  Washington, DC 20416
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                                           United States Bankruptcy Court
                                               Northern District of Illinois
 In re   Mirage Restaurant, Inc.                                                     Case No.
                                                            Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Mirage Restaurant, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




May 16, 2023                                   /s/ Robert R. Benjamin
Date                                           Robert R. Benjamin
                                               Signature of Attorney or Litigant
                                               Counsel for Mirage Restaurant, Inc.
                                               Golan Christie Taglia LLP
                                               70 W. Madison St., Suite 1500
                                               Chicago, IL 60602
                                               (312) 263-2300
                                               rrbenjamin@gct.law
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Form   8879-CORP                                 E-file Authorization for Corporations
                             For calendar year 20 22 , or tax year beginning                        , 20        , ending                            , 20
(December 2022)                                                                                                                                                     OMB No. 1545-0123
                                                Use for efile authorizations for Form 1120, 1120-F or 1120S.
Department of the Treasury                            Do not send to the IRS. Keep for your records.
Internal Revenue Service                       Go to www.irs.gov/Form8879CORP for the latest information.
Name of corporation                                                                                                                 Employer identification number
MIRAGE RESTAURANT INC                                                                                                               XX-XXXXXXX
 Part I Information (Whole dollars only)

   1     Total income (Form 1120, line 11) .            .   .   .   .   .   .   .   .   .   .   .     .     .    .   .     .    .    .     .    .   .      .       1

   2     Total income (Form 1120-F, Section II, line 11)                .   .   .   .   .   .   .     .     .    .   .     .    .    .     .    .   .      .       2

   3     Total income (loss) (Form 1120-S, line 6)
                                               . . . . . . . . . . . . . . . . . . . .                   3      360,824.
 Part II        Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation’s return.
Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation’s
electronic income tax return and accompanying schedules and statements, and to the best of my knowledge and belief, they are
true, correct, and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation’s
electronic income tax return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to
send the corporation’s return to the IRS and to receive from the IRS (a) an acknowledgment of receipt or reason for rejection of the
transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize
the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial
institution account indicated in the tax preparation software for payment of the corporation’s federal taxes owed on this return, and
the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial Agent at
1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve
issues related to the payment. I have selected a personal identification number (PIN) as my signature for the corporation’s electronic
income tax return and, if applicable, the corporation’s consent to electronic funds withdrawal.

Officer’s PIN: check one box only

              I authorize LOGISTIKA SOLUTIONS CORP                                                         to enter my PIN                1 7 5 1 7                    as my signature
                                                      ERO firm name                                                                      do not enter all zeros
              on the corporation’s electronically filed income tax return.

              As an officer of the corporation, I will enter my PIN as my signature on the corporation’s electronically filed income tax
              return.
Officer’s signature                                                                     Date                                    Title          SECRETARY

Part III        Certification and Authentication


ERO’s EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                                              1 5 6 3 7 2 6 0 0 0 5
                                                                                                                                                        do not enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the electronically filed income tax return for the corporation
indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application
and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.


ERO’s signature                                                                                                          Date        05/12/2023


                                           ERO Must Retain This Form — See Instructions
                                   Do Not Submit This Form to the IRS Unless Requested To Do So

For Paperwork Reduction Act Notice, see instructions.                           REV 04/19/23 PRO                                                           Form 8879-CORP (12-2022)
BAA
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Form                                             1120-S                            U.S. Income Tax Return for an S Corporation                                                                  OMB No. 1545-0123



                                                                                                                                                                                                 2022
                                                                                           Do not file this form unless the corporation has filed or
Department of the Treasury                                                                 is attaching Form 2553 to elect to be an S corporation.
Internal Revenue Service                                                           Go to www.irs.gov/Form1120S for instructions and the latest information.
For calendar year 2022 or tax year beginning                                                                                                      , 2022, ending                                          , 20
A S election effective date                                                             Name                                                                                    D Employer identification number
                               01/01/2001                                              MIRAGE RESTAURANT INC                                                                        XX-XXXXXXX
B Business activity code
                                                                               TYPE     Number, street, and room or suite no. If a P.O. box, see instructions.                  E Date incorporated
  number (see instructions)                                                    OR
                                                                               PRINT   10255 IRVING PARK ROAD                                                                       09/19/1988
                               722511                                                   City or town, state or province, country, and ZIP or foreign postal code                F Total assets (see instructions)
C Check if Sch. M-3 attached                                                           SCHILLER PARK IL 60176                                                                   $                334,440.
G                                               Is the corporation electing to be an S corporation beginning with this tax year? See instructions.      Yes       No
H                                               Check if: (1)    Final return (2)    Name change (3)             Address change (4)      Amended return (5)         S election termination
I                                               Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . .                                              2
J                                               Check if corporation: (1)     Aggregated activities for section 465 at-risk purposes (2)  Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 21. See the instructions for more information.
                                                  1a    Gross receipts or sales     . . . . . . . . . . . . . . . .                      1a         630,146.
                                                    b   Returns and allowances . . . . . . . . . . . . . . . .                           1b           3,300.
                                                    c   Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . .                                                  1c               626,846.
Income




                                                  2     Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . .                                                    2               266,022.
                                                  3     Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . .                                                 3               360,824.
                                                  4     Net gain (loss) from Form 4797, line 17 (attach Form 4797) . . . . . . . . . . . . .                                             4
                                                  5     Other income (loss) (see instructions—attach statement) . . . . . . . . . . . . . .                                              5
                                                  6     Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . . .                                                   6               360,824.
                                                  7     Compensation of officers (see instructions—attach Form 1125-E) . . . . . . . . . . .                                             7                 6,300.
Deductions (see instructions for limitations)




                                                  8     Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . .                                                   8                12,300.
                                                  9     Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . .                                                          9                24,261.
                                                 10     Bad debts      . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          10
                                                 11     Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                               11                77,915.
                                                 12     Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          12                57,711.
                                                 13     Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . .                                                     13                     7.
                                                 14     Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562)                                14                17,453.
                                                 15     Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . .                                                15
                                                 16     Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             16                24,605.
                                                 17     Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . .                                                  17
                                                 18     Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . .                                                         18
                                                 19     Other deductions (attach statement) . See    . . Statement
                                                                                                           . . . . . . . . . . . . . . . . .                                            19               199,208.
                                                 20     Total deductions. Add lines 7 through 19        . . . . . . . . . . . . . . . . . .                                             20               419,760.
                                                 21     Ordinary business income (loss). Subtract line 20 from line 6 . . . . . . . . . . . .                                           21               -58,936.
                                                 22a    Excess net passive income or LIFO recapture tax (see instructions) . . .        22a
                                                    b   Tax from Schedule D (Form 1120-S) . . . . . . . . . . . .                       22b
Tax and Payments




                                                    c   Add lines 22a and 22b (see instructions for additional taxes) . . . . . . . . . . . . .                                         22c
                                                 23a    2022 estimated tax payments and 2021 overpayment credited to 2022            .  23a
                                                    b   Tax deposited with Form 7004 . . . . . . . . . . . . . .                        23b                0.
                                                    c   Credit for federal tax paid on fuels (attach Form 4136) . . . . . . .           23c
                                                    d   Add lines 23a through 23c       . . . . . . . . . . . . . . . . . . . . . . .                                                   23d                         0.
                                                 24     Estimated tax penalty (see instructions). Check if Form 2220 is attached . . . . . . . .                                         24
                                                 25     Amount owed. If line 23d is smaller than the total of lines 22c and 24, enter amount owed . . .                                  25                         0.
                                                 26     Overpayment. If line 23d is larger than the total of lines 22c and 24, enter amount overpaid . . .                               26
                                                 27     Enter amount from line 26: Credited to 2023 estimated tax                               Refunded .                               27
                                                        Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
                                                        belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign
                                                                                                                                                                                     May the IRS discuss this return
Here                                                                                                                                       SECRETARY                                 with the preparer shown below?
                                                        Signature of officer                                             Date             Title                                      See instructions.    Yes     No
                                                           Print/Type preparer’s name                        Preparer’s signature                                Date           Check      if     PTIN
Paid                                                                                                                                                                            self-employed
         Tony Bovis                    Tony Bovis                                                                                                                05/12/2023                     P00096350
Preparer
         Firm’s name    Logistika Solutions Corp                                                                                                                                Firm’s EIN             8910
Use Only Firm’s address 1442 Techny Road Northbrook IL 60062                                                                                                                       Phone no. (847)322-0895
For Paperwork Reduction Act Notice, see separate instructions.                                                            BAA                                           REV 04/19/23 PRO       Form 1120-S (2022)
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Form 1120-S (2022)                                                                                                                                        Page   2
Schedule B             Other Information (see instructions)
  1       Check accounting method:       a    Cash      b      Accrual                                                                               Yes No
                                         c     Other (specify)
  2       See the instructions and enter the:
          a Business activity RESTAURANT                             b Product or service FOOD & BEVERAGES
  3       At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
          nominee or similar person? If “Yes,” attach Schedule B-1, Information on Certain Shareholders of an S Corporation . .
  4       At the end of the tax year, did the corporation:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
          foreign or domestic corporation? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v)
          below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 (i) Name of Corporation            (ii) Employer            (iii) Country of      (iv) Percentage of (v) If Percentage in (iv) Is 100%, Enter the
                                                    Identification            Incorporation           Stock Owned     Date (if applicable) a Qualified Subchapter
                                                   Number (if any)                                                          S Subsidiary Election Was Made




      b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
          capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
          trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . . . . . . .
                     (i) Name of Entity             (ii) Employer          (iii) Type of Entity         (iv) Country of        (v) Maximum Percentage Owned
                                                    Identification                                       Organization               in Profit, Loss, or Capital
                                                   Number (if any)




  5a      At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . .                       .
          If “Yes,” complete lines (i) and (ii) below.
          (i)   Total shares of restricted stock . . . . . . . . . . .
          (ii) Total shares of non-restricted stock . . . . . . . . . .
      b   At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments?                .
          If “Yes,” complete lines (i) and (ii) below.
          (i)   Total shares of stock outstanding at the end of the tax year   . .
          (ii) Total shares of stock outstanding if all instruments were executed
  6       Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
          information on any reportable transaction?     . . . . . . . . . . . . . . . . . . . . . . . .
  7       Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . .
          If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
          Instruments.
  8       If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset with a
          basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C corporation, and
          (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years, enter the net unrealized built-in
          gain reduced by net recognized built-in gain from prior years. See instructions . . . . . .             $
  9       Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
          in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . .
 10       Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . .
   a      The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
      b   The corporation’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
          preceding the current tax year are more than $27 million and the corporation has business interest expense.
    c     The corporation is a tax shelter and the corporation has business interest expense.
          If “Yes,” complete and attach Form 8990, Limitation on Business Interest Expense Under Section 163(j).
 11       Does the corporation satisfy both of the following conditions? . . . . . . . . . . . . . . . . . .
      a   The corporation’s total receipts (see instructions) for the tax year were less than $250,000.
      b   The corporation’s total assets at the end of the tax year were less than $250,000.
          If “Yes,” the corporation is not required to complete Schedules L and M-1.
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Schedule B                        Other Information (see instructions) (continued)                                                                       Yes   No
 12                    During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had             the
                       terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . .                            .
                       If “Yes,” enter the amount of principal reduction . . . . . . . . . . . . . . . $
 13                    During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If “Yes,” see instructions    .
 14a                   Did the corporation make any payments in 2022 that would require it to file Form(s) 1099? . . . . . . . . .                .
    b                  If “Yes,” did or will the corporation file required Form(s) 1099? . . . . . . . . . . . . . . . . . .                      .
 15                    Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . .                   .
                       If “Yes,” enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . $
Schedule K                        Shareholders’ Pro Rata Share Items                                                                           Total amount
                           1     Ordinary business income (loss) (page 1, line 21) . . . . . . . . . . . . .                    .   .     1             -58,936.
                           2     Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . .                  .   .     2
                           3a    Other gross rental income (loss) . . . . . . . . . . . .                     3a
                             b   Expenses from other rental activities (attach statement)        . . . .      3b
                             c   Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . .                .   .    3c
       Income (Loss)




                           4     Interest income . . . . . . . . . . . . . . . . . . . . . . .                                  .   .     4
                           5     Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . .                            .   .    5a
                                             b Qualified dividends . . . . . . . . . . . .                    5b
                           6     Royalties . . . . . . . . . . . . . . . . . . . . . . . . .                                    .   .     6
                           7     Net short-term capital gain (loss) (attach Schedule D (Form 1120-S))       . . . . . .         .   .     7
                           8a    Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . .              .   .    8a
                             b   Collectibles (28%) gain (loss) . . . . . . . . . . . . .                     8b
                             c   Unrecaptured section 1250 gain (attach statement) . . . . . .                8c
                           9     Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . .                      .   .      9
                          10     Other income (loss) (see instructions) . . . Type:                                                       10
                          11     Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . .                         .   .     11
       Deductions




                          12a    Charitable contributions . . . . . . . . . . . . . . . . . . . .                               .   .    12a
                             b   Investment interest expense . . . . . . . . . . . . . . . . . . .                              .   .    12b
                             c   Section 59(e)(2) expenditures . . . . . . Type:                                                         12c
                             d   Other deductions (see instructions) . . . . Type:                                                       12d
                          13a    Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . .                       .   .    13a
                             b   Low-income housing credit (other) . . . . . . . . . . . . . . . . .                            .   .    13b
                             c   Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable)   .   .    13c
       Credits




                             d   Other rental real estate credits (see instructions) Type:                                               13d
                             e   Other rental credits (see instructions) . . . Type:                                                     13e
                             f   Biofuel producer credit (attach Form 6478)       . . . . . . . . . . . . . .                   .   .    13f
                             g   Other credits (see instructions) . . . . . Type:                                                        13g
   national
    Inter-




                          14     Attach Schedule K-2 (Form 1120-S), Shareholders’ Pro Rata Share Items—International,           and
                                 check this box to indicate you are reporting items of international tax relevance . . .         .
                          15a    Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . .                             . .     15a                   87.
 Minimum Tax
 (AMT) Items
  Alternative




                            b    Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . .                                 . .     15b
                            c    Depletion (other than oil and gas)    . . . . . . . . . . . . . . . . .                         . .     15c
                            d    Oil, gas, and geothermal properties—gross income . . . . . . . . . . . .                        . .     15d
                            e    Oil, gas, and geothermal properties—deductions . . . . . . . . . . . . .                        . .     15e
                            f    Other AMT items (attach statement) . . . . . . . . . . . . . . . . .                            . .     15f
   Shareholder Basis




                          16a    Tax-exempt interest income . . . . . . . . . . . . . . . . . . .                                . .     16a
    Items Affecting




                            b    Other tax-exempt income . . . . . . . . . . . . . . . . . . . .                                 . .     16b
                            c    Nondeductible expenses . . . . . . . . . . . . . . . . . . . .                                  . .     16c
                            d    Distributions (attach statement if required) (see instructions) . . . . . . . . .               . .     16d
                            e    Repayment of loans from shareholders . . . . . . . . . . . . . . . .                            . .     16e
                            f    Foreign taxes paid or accrued       . . . . . . . . . . . . . . . . . .                         . .     16f
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Schedule K
  ciliation Information               Shareholders’ Pro Rata Share Items (continued)                                                                                      Total amount
                             17a    Investment income . . . . . . . . . . . . . . .                          .   .      .   .   .       .   .   .    .      17a
               Other


                               b    Investment expenses . . . . . . . . . . . . . .                          .   .      .   .   .       .   .   .    .      17b
                               c    Dividend distributions paid from accumulated earnings and profits        .   .      .   .   .       .   .   .    .      17c
                               d    Other items and amounts (attach statement)
  Recon-




                             18     Income (loss) reconciliation. Combine the amounts on lines 1 through 10 in the far right
                                    column. From the result, subtract the sum of the amounts on lines 11 through 12d and 16f .                              18                  -58,936.
Schedule L                            Balance Sheets per Books                             Beginning of tax year                                          End of tax year
                                                   Assets                                (a)                      (b)                               (c)                          (d)
  1                       Cash . . . . . . . . . . . . .                                                         147,806.                                                        12,199.
  2a                      Trade notes and accounts receivable . . .                                                                                 50,864.
    b                     Less allowance for bad debts . . . . . .               (                   )                                  (                         )              50,864.
  3                       Inventories       . . . . . . . . . . .                                                    9,196.                                                      10,210.
  4                       U.S. government obligations . . . . . .
  5                       Tax-exempt securities (see instructions) . .
  6                       Other current assets (attach statement) . . .
  7                       Loans to shareholders . . . . . . . .
  8                       Mortgage and real estate loans . . . . .
  9                       Other investments (attach statement) . . .
 10a                      Buildings and other depreciable assets . . .               1,317,139.                                             1,317,139.
    b                     Less accumulated depreciation . . . . .                (   1,038,519. )                278,620. (                 1,055,972. )                        261,167.
 11a                      Depletable assets . . . . . . . . .
    b                     Less accumulated depletion . . . . . .                 (                   )                                  (                         )
 12                       Land (net of any amortization) . . . . . .
 13a                      Intangible assets (amortizable only) . . . .
    b                     Less accumulated amortization . . . . .                (                   )                                  (                         )
 14                       Other assets (attach statement) . . . . .
 15                       Total assets . . . . . . . . . . .                                                     435,622.                                                       334,440.
                                  Liabilities and Shareholders’ Equity
 16                       Accounts payable . . . . . . . . .
 17                       Mortgages, notes, bonds payable in less than 1 year
 18                       Other current liabilities (attach statement)Ln. 18. St                                  35,964.                                                        38,392.
 19                       Loans from shareholders . . . . . . .                                                   74,389.                                                        89,623.
 20                       Mortgages, notes, bonds payable in 1 year or more                                      634,477.                                                       634,477.
 21                       Other liabilities (attach statement) . . . .
 22                       Capital stock . . . . . . . . . . .                                                        2,000.                                                        2,000.
 23                       Additional paid-in capital . . . . . . .
 24                       Retained earnings . . . . . . . . .                                                -311,208.                                                        -370,144.
                                                                   Ln 25 St
 25                       Adjustments to shareholders’ equity (attach statement)                                                                                               -59,908.
 26                       Less cost of treasury stock . . . . . .                                        (                          )                                 (                       )
 27                       Total liabilities and shareholders’ equity      . .                                    435,622.                                                       334,440.
                                                                                      REV 04/19/23 PRO                                                                    Form 1120-S (2022)
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Schedule M-1            Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                        Note: The corporation may be required to file Schedule M-3. See instructions.
  1       Net income (loss) per books      .   .   .   .           -58,936.            5           Income recorded on books this year
  2       Income included on Schedule K, lines 1, 2,                                               not included on Schedule K, lines 1
          3c, 4, 5a, 6, 7, 8a, 9, and 10, not recorded                                             through 10 (itemize):
          on books this year (itemize)                                                  a          Tax-exempt interest $


  3       Expenses recorded on books this year                                         6           Deductions included on Schedule K,
          not included on Schedule K, lines 1                                                      lines 1 through 12, and 16f, not charged
          through 12, and 16f (itemize):                                                           against book income this year (itemize):
      a   Depreciation $                                                                a          Depreciation $

      b   Travel and entertainment $                                                   7           Add lines 5 and 6 .       .     .   .   .   .   .
                                                                                       8           Income (loss) (Schedule K, line 18).
  4       Add lines 1 through 3    .   .   .   .   .   .           -58,936.                        Subtract line 7 from line 4 . . . .                            -58,936.
Schedule M-2            Analysis of Accumulated Adjustments Account, Shareholders’ Undistributed Taxable Income
                        Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
                        (see instructions)
                                                                         (a) Accumulated               (b) Shareholders’          (c) Accumulated       (d) Other adjustments
                                                                       adjustments account           undistributed taxable       earnings and profits          account
                                                                                                   income previously taxed

  1       Balance at beginning of tax year . .         .   .   .           -283,606.                                 0.                            0.                    0.
  2       Ordinary income from page 1, line 21         .   .   .
  3       Other additions . . . . . . .                .   .   .
  4       Loss from page 1, line 21 . . . .            .   .   .   (          58,936. )
  5       Other reductions . . . . . . .               .   .   .   (                           )                                                        (                       )
  6       Combine lines 1 through 5 . . . .            .   .   .           -342,542.                                 0.                            0.                    0.
  7       Distributions . . . . . . . .                .   .   .
  8       Balance at end of tax year. Subtract line 7 from
          line 6 . . . . . . . . . . . . .                                 -342,542.                                 0.                            0.                    0.
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Form       1125-A                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                             OMB No. 1545-0123
                                                     a Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury                          a Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                                                 Employer identification number
MIRAGE RESTAURANT INC                                                                                                                                XX-XXXXXXX
   1       Inventory at beginning of year   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           1                 9,196
   2       Purchases . . . . . .            .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           2               219,472
   3       Cost of labor . . . . . . . . . . . . . . . . .                                     .   .   .   .   .   .   .   .     .           3
   4       Additional section 263A costs (attach schedule) . . . . . . .                       .   .   .   .   .   .   .   .     .           4
   5       Other costs (attach schedule) . . . . See    . . Statement
                                                             . . . . . .                       .   .   .   .   .   .   .   .     .           5                        47,564
   6       Total. Add lines 1 through 5 .   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           6                       276,232
   7       Inventory at end of year . .     .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           7                        10,210
   8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
           appropriate line of your tax return. See instructions . . . . . . . . . . . . . . .                                               8                       266,022
   9a      Check all methods used for valuing closing inventory:
            (i)  Cost
            (ii)  Lower of cost or market
           (iii)  Other (Specify method used and attach explanation.) a
    b      Check if there was a writedown of subnormal goods    . . .                  .   .   .   .   .   .   .   .   .   .     .   .   .       .   .   .   .   .    .    a

    c      Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                              .   .   .   .   .    .    a

    d      If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
           under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              9d
    e      If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions .                          .           Yes       No
       f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If “Yes,”
           attach explanation  . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                             Yes       No


Section references are to the Internal                        merchandise is an income-producing                                  Small business taxpayer. A small
Revenue Code unless otherwise noted.                          factor. See Regulations section 1.471-1. If                      business taxpayer is a taxpayer that (a) has
                                                              inventories are required, you generally                          average annual gross receipts of $25
What's New                                                    must use an accrual method of accounting                         million or less (indexed for inflation) for the
Small business taxpayers. For tax years                       for sales and purchases of inventory items.                      3 prior tax years, and (b) is not a tax shelter
beginning after December 31, 2017, the                        Exception for certain taxpayers. A small                         (as defined in section 448(d)(3)). See Pub.
following apply.                                              business taxpayer (defined below), can                           538.
• A small business taxpayer (defined                          adopt or change its accounting method to                         Uniform capitalization rules. The uniform
below), may use a method of accounting for                    account for inventories in the same manner                       capitalization rules of section 263A
inventories that either: (1) treats inventories               as material and supplies that are non-                           generally require you to capitalize, or
as nonincidental materials and supplies, or                   incidental, or conform to its treatment of                       include in inventory, certain costs incurred
(2) conforms to the taxpayer's financial                      inventories in an applicable financial                           in connection with the following.
accounting treatment of inventories.                          statement (as defined in section 451(b)(3)),                     • The production of real property and
• A small business taxpayer is not required                   or if it does not have an applicable financial                   tangible personal property held in inventory
to capitalize costs under section 263A.                       statement, the method of accounting used                         or held for sale in the ordinary course of
                                                              in its books and records prepared in                             business.
General Instructions                                          accordance with its accounting
                                                                                                                               • Real property or personal property
                                                              procedures. See section 471(c)(3).
Purpose of Form                                                                                                                (tangible and intangible) acquired for resale.
                                                                 A small business taxpayer claiming
Use Form 1125-A to calculate and deduct                                                                                        • The production of real property and
                                                              exemption from the requirement to keep
cost of goods sold for certain entities.                                                                                       tangible personal property for use in its
                                                              inventories is changing its method of
                                                                                                                               trade or business or in an activity engaged
Who Must File                                                 accounting for purposes of section 481.
                                                                                                                               in for profit.
                                                              For additional guidance on this method of
Filers of Form 1120, 1120-C, 1120-F,                          accounting, see Pub. 538, Accounting                                A small business taxpayer (defined
1120S, or 1065, must complete and attach                      Periods and Methods. For guidance on                             above) is not required to capitalize costs
Form 1125-A if the applicable entity reports                  changing to this method of accounting, see                       under section 263A. See section 263A(i).
a deduction for cost of goods sold.                           Form 3115 and the Instructions for Form                             See the discussion on section 263A
Inventories                                                   3115.                                                            uniform capitalization rules in the
                                                                                                                               instructions for your tax return before
Generally, inventories are required at the                                                                                     completing Form 1125-A. Also see
beginning and end of each tax year if the                                                                                      Regulations sections 1.263A-1 through
production, purchase, or sale of                                                                                               1.263A-3. See Regulations section
                                                                                                                               1.263A-4 for rules for property produced in
                                                                                                                               a farming business.




For Paperwork Reduction Act Notice, see instructions. BAA                                                                       REV 04/19/23 PRO         Form 1125-A (Rev. 11-2018)
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                                                                                                                    Final K-1                 Amended K-1                      OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                              2022                Part III Shareholder’s Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                                                                     1   Ordinary business income (loss)        13    Credits
                                                                       For calendar year 2022, or tax year
Internal Revenue Service
                                                                                                                                         -19,731.
                        beginning             /       /   2022             ending      /      /                2   Net rental real estate income (loss)


Shareholder’s Share of Income, Deductions,                                                                     3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                               4   Interest income
                    Part I    Information About the Corporation
  A                  Corporation’s employer identification number                                              5a Ordinary dividends
                     XX-XXXXXXX
  B                  Corporation’s name, address, city, state, and ZIP code                                    5b Qualified dividends                     14    Schedule K-3 is attached if
                     MIRAGE RESTAURANT INC                                                                                                                      checked . . . . .
                                                                                                               6   Royalties                              15    Alternative minimum tax (AMT) items
                     10255 IRVING PARK ROAD                                                                                                               A                                 29.
                     SCHILLER PARK IL 60176                                                                    7   Net short-term capital gain (loss)


  C                  IRS Center where corporation filed return                                                 8a Net long-term capital gain (loss)
                     Kansas City, MO                          64999-0013
  D                  Corporation’s total number of shares                                                      8b Collectibles (28%) gain (loss)
                        Beginning of tax year         .   .    .   .   .                          2000
                        End of tax year   .       .   .   .    .   .   .                           700         8c Unrecaptured section 1250 gain


                                                                                                               9   Net section 1231 gain (loss)           16    Items affecting shareholder basis
               Part II        Information About the Shareholder
  E                  Shareholder’s identifying number                                                         10   Other income (loss)
                                    0162
   F                 Shareholder’s name, address, city, state, and ZIP code
                     GEORGE FOUNTALAS

                     5627 N VINE AVE
                     CHICAGO IL 60631

                                                                                                                                                          17    Other information
  G                  Current year allocation percentage .          .   .             33.47945          %
                                                                                                              11   Section 179 deduction

  H                  Shareholder’s number of shares
                        Beginning of tax year         .   .    .   .   .                          1300        12   Other deductions
                        End of tax year   .       .   .   .    .   .   .                             0

     I               Loans from shareholder
                        Beginning of tax year         .   .    .   .   .    $              24,905.
                        End of tax year   .       .   .   .    .   .   .    $                   0.
 For IRS Use Only




                                                                                                              18       More than one activity for at-risk purposes*
                                                                                                              19       More than one activity for passive activity purposes*


                                                                                                                     * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                                www.irs.gov/Form1120S        REV 04/19/23 PRO         Schedule K-1 (Form 1120-S) 2022
BAA
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                                                                                                                    Final K-1                 Amended K-1                      OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                              2022                Part III Shareholder’s Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                                                                     1   Ordinary business income (loss)        13    Credits
                                                                       For calendar year 2022, or tax year
Internal Revenue Service
                                                                                                                                         -39,205.
                        beginning             /       /   2022             ending      /      /                2   Net rental real estate income (loss)


Shareholder’s Share of Income, Deductions,                                                                     3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                               4   Interest income
                    Part I    Information About the Corporation
  A                  Corporation’s employer identification number                                              5a Ordinary dividends
                     XX-XXXXXXX
  B                  Corporation’s name, address, city, state, and ZIP code                                    5b Qualified dividends                     14    Schedule K-3 is attached if
                     MIRAGE RESTAURANT INC                                                                                                                      checked . . . . .
                                                                                                               6   Royalties                              15    Alternative minimum tax (AMT) items
                     10255 IRVING PARK ROAD                                                                                                               A                                 58.
                     SCHILLER PARK IL 60176                                                                    7   Net short-term capital gain (loss)


  C                  IRS Center where corporation filed return                                                 8a Net long-term capital gain (loss)
                     Kansas City, MO                          64999-0013
  D                  Corporation’s total number of shares                                                      8b Collectibles (28%) gain (loss)
                        Beginning of tax year         .   .    .   .   .                          2000
                        End of tax year   .       .   .   .    .   .   .                           700         8c Unrecaptured section 1250 gain


                                                                                                               9   Net section 1231 gain (loss)           16    Items affecting shareholder basis
               Part II        Information About the Shareholder
  E                  Shareholder’s identifying number                                                         10   Other income (loss)
                                    1950
   F                 Shareholder’s name, address, city, state, and ZIP code
                     JAMES FOUNTALAS

                     5641 N CRESCENT
                     NORWOOD PARK IL 60631

                                                                                                                                                          17    Other information
  G                  Current year allocation percentage .          .   .             66.52055          %
                                                                                                              11   Section 179 deduction

  H                  Shareholder’s number of shares
                        Beginning of tax year         .   .    .   .   .                           700        12   Other deductions
                        End of tax year   .       .   .   .    .   .   .                           700

     I               Loans from shareholder
                        Beginning of tax year         .   .    .   .   .    $              49,484.
                        End of tax year   .       .   .   .    .   .   .    $              59,618.
 For IRS Use Only




                                                                                                              18       More than one activity for at-risk purposes*
                                                                                                              19       More than one activity for passive activity purposes*


                                                                                                                     * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                                www.irs.gov/Form1120S        REV 04/19/23 PRO         Schedule K-1 (Form 1120-S) 2022
BAA
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Form   1125-E                                               Compensation of Officers
(Rev. October 2016)                                                                                                                                      OMB No. 1545-0123
                                            a
                                          Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
Department of the Treasury
                              a Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
Internal Revenue Service
Name                                                                                                                                           Employer identification number
MIRAGE RESTAURANT INC                                                                                                                          XX-XXXXXXX
Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                (b) Social security number         (c) Percent of         Percent of stock owned            (f) Amount of
                      (a) Name of officer                                                        time devoted to
                                                                     (see instructions)                               (d) Common       (e) Preferred        compensation
                                                                                                      business


   1 JAMES FOUNTALAS                                                        1950                             35 %              35 %                %               6,300.

                                                                                                                  %                %               %


                                                                                                                  %                %               %


                                                                                                                  %                %               %


                                                                                                                  %                %               %


                                                                                                                  %                %               %


                                                                                                                  %                %               %


                                                                                                                  %                %               %


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                                                                                                                  %                %               %


                                                                                                                  %                %               %


                                                                                                                  %                %               %


                                                                                                                  %                %               %


                                                                                                                  %                %               %


                                                                                                                  %                %               %

   2     Total compensation of officers .          .    .   .   .   .   .   .   .   .   .    .   .   .   .    .   .   .    .   .   .   .   .      2                6,300.

   3     Compensation of officers claimed on Form 1125-A or elsewhere on return                               .   .   .    .   .   .   .   .      3

   4     Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
         appropriate line of your tax return . . . . . . . . . . . . . . . . . . . . . .                                                          4                6,300.
For Paperwork Reduction Act Notice, see separate instructions. BAA                                                             REV 04/19/23 PRO    Form 1125-E (Rev. 10-2016)
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   Form 1120S                             Other Liabilities                    2022
   Schedule L                 and Adjustments to Shareholders’ Equity

Name                                                                              Employer ID Number
MIRAGE RESTAURANT INC                                                             XX-XXXXXXX


                                                                 Beginning of          End of
 Other Current Liabilities:                                        tax year           tax year

 BANQUET DEPOSITS PAY                                                   32,083.         32,083.
 ACCRUED SALES TAX                                                       3,881.          5,255.
 PAYROLL TAX PAYABLE                                                                     1,054.




 Total to Form 1120S, Schedule L, line 18                               35,964.         38,392.

                                                                 Beginning of          End of
 Other Liabilities:                                                tax year           tax year




 Total to Form 1120S, Schedule L, line 21

                                                                 Beginning of          End of
 Adjustments to Shareholders’ Equity:                              tax year           tax year

 PPA TO EQUITY                                                                         -59,908.




 Total to Form 1120S, Schedule L, line 25                                              -59,908.
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                                   199A Worksheet by Activity                                  2022
                                           G Keep for your records

Corporation’s name                                                               Corporation’s EIN
MIRAGE RESTAURANT INC                                                            XX-XXXXXXX

   QuickZoom to 199A Summary

                                  Trade or Business: 1120S, Line 21
   Aggregation Code:                            EIN: XX-XXXXXXX

                                  Is this activity a qualified trade/business?              Yes      X No
                                  Specified Service Trade or Business?                      Yes      X No

QBI or qualified PTP items subject to shareholder-specific determinations:

 1a    Ordinary business income (loss)                             1a
   b   Adjustments                                                  b
   c   Adjusted ordinary business income (loss)                                       1c
 2a    Rental income (loss)                                        2a
   b   Adjustments                                                  b
   c   Adjusted rental income (loss)                                                  2c
 3a    Royalty income (loss)                                       3a
   b   Adjustments                                                  b
   c   Adjusted royalty income (loss)                                                 3c
 4a    Section 1231 gain (loss)                                    4a
   b   Adjustments                                                  b
   c   Adjusted section 1231 gain (loss)                                              4c
 5     Other income (loss)                                                            5
 6a    Section 179 deduction                                       6a
   b   Adjustments                                                  b
   c   Adjusted section 179 deduction                                                 6c
 7     Other deductions                                                               7
 8a    W-2 wages                                                   8a
   b   Adjustments                                                  b
   c   Adjusted W-2 Wages                                                             8c
 9a    UBIA of qualified property                                  9a
   b   Adjustments                                                  b
   c   Adjusted UBIA of qualified property                                            9c
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                                    Section 179 Carryover Detail for this Activity


                                                                          Section 179     Section 179
                                                                          Regular Tax        QBI

       Tentative Section 179 deduction from current year assets
                        Part I: Prior Year Carryovers
                            by Year and Category
  A    Before 2018                                                                                  0.
  B    2018                                                                                         0.
  C    2019                                                                          0.             0.
  D    2020
  E    2021
       Total prior year carryovers to this year




                          Part II: 179 Deduction Allowed                  Section 179     Section 179
                              by Year and Category                        Regular Tax        QBI

 Total 179 deduction allowed for this activity in current year
  A Amount allowed from 2022
  B Amount allowed from before 2018
  C Amount allowed from 2018
  D Amount allowed from 2019
  E Amount allowed from 2020
  F Amount allowed from 2021




                        Part III: Total Carryforward to 2023              Section 179     Section 179
                                by Year and Category                      Regular Tax        QBI



  A    Carryforward from 2022
  B    Carryforward from before 2018
  C    Carryforward from 2018                                                                       0.
  D    Carryforward from 2019                                                        0.             0.
  E    Carryforward from 2020
  F    Carryforward from 2021
       Total carryforward to next year                                               0.             0.


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MIRAGE RESTAURANT INC                                                      XX-XXXXXXX                1



Additional Information From 2022 US Form 1120S: Income Tax Return for S Corp

Form 1120S: S-Corporation Tax Return
Other Deductions                                                            Continuation Statement
                         Description                                        Amount
BANK CHARGES                                                                                       75.
COMPUTER SERVICES AND SUPPLIES                                                                  3,618.
INSURANCE                                                                                      29,892.
LEGAL AND PROFESSIONAL                                                                         19,000.
OUTSIDE SERVICES                                                                               62,709.
PRINTING                                                                                          217.
SECURITY                                                                                        3,822.
TELEPHONE                                                                                       5,368.
UTILITIES                                                                                      49,316.
SCAVENGER                                                                                       6,234.
MERCHANT SERVICES                                                                              18,957.
                                                     Total                                 199,208.

SMART WORKSHEET FOR: Form 1120S: S-Corporation Tax Return
Other Misc Taxes                                                              Itemization Statement
                                Description                                          Amount
SALES TAX                                                                                      55,569.
                                                                   Total                       55,569.

Form 1125-A: Cost of Goods Sold
Line 2                                                                        Itemization Statement
                                Description                                          Amount
FOOD PURCHASE                                                                                  187,089
LIQUOR PURCHASES                                                                                21,988
SUPPLIES                                                                                        10,395
                                                                   Total                       219,472

Form 1125-A: Cost of Goods Sold
Other Costs Statement                                                       Continuation Statement
                                   Other Cost                                        Other Amount
LINENS                                                                                          47,564
MUSIC & ENTERTAINMENT                                                                                0
                                                                           Total                47,564
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                                Mirage Restaurant, Inc.
                                      Profit & Loss
                                 January through April 2023

                                                                Jan - Apr 23
       Ordinary Income/Expense
            Income
               Doordash Income                                           481.85
               Grubhub Income                                            124.23
               Restaurant and Banquet Sales                          181,370.23

            Total Income                                             181,976.31

            Cost of Goods Sold
              Food Purchases                                          59,444.33
              Linens                                                  13,121.00
              Liquor Purchases                                        17,905.25
              Merchant Account Fees                                    6,510.44
              Restaurant Supplies                                      1,586.95
              Sales Tax Expense                                       20,008.00

            Total COGS                                               118,575.97

         Gross Profit                                                 63,400.34

            Expense
              Advertising and Promotion                                7,265.05
              Bank Service Charges                                        32.50
              Computer and Internet Expenses                           1,180.43
              Dues and Subscriptions                                     524.59
              Insurance Expense                                        8,594.52
              Outside Service                                          4,015.00
              Payroll Tax Expense                                        104.46
              Repairs and Maintenance                                 15,170.25
              Scavenger                                                2,524.73
              Security System                                            352.79
              Telephone Expense                                        1,346.33
              Utilities                                               14,933.70

            Total Expense                                             56,044.35

       Net Ordinary Income                                              7,355.99

     Net Income                                                         7,355.99




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                                   Mirage Restaurant, Inc.
                                        Balance Sheet
                                         As of April 30, 2023

                                                                  Apr 30, 23
     ASSETS
       Current Assets
         Checking/Savings
            Credit Card Account                                            1,543.27

             US Bank - 4101                                             13,357.47
             US Bank - Payroll - 9392                                      934.82

          Total Checking/Savings                                        15,835.56

          Other Current Assets
            Accounts Receivable Hotel                                   50,859.94
            Inventory                                                   10,210.00
            Payroll Exchange                                             2,412.43

          Total Other Current Assets                                    63,482.37

       Total Current Assets                                             79,317.93

       Fixed Assets
          Accumulated Depreciation                                   -1,055,971.77
          Equipment                                                     361,042.44
          Furniture and Equipment                                        30,557.16
          Leasehold Improvements                                        925,539.22

       Total Fixed Assets                                              261,167.05

     TOTAL ASSETS                                                      340,484.98

     LIABILITIES & EQUITY
        Liabilities
           Current Liabilities
              Other Current Liabilities
                  Business Reserve LOC - 9392                              200.00
                  Sales Tax Payable                                      5,255.39
                  Unearned Banquet Revenue                              32,082.98
                  Withholding Taxes Payable                                 -6.13

             Total Other Current Liabilities                            37,532.24

          Total Current Liabilities                                     37,532.24

          Long Term Liabilities
            Loans From Shareholders                                     89,622.68
            SBA (PPP) Funds                                            484,477.00
            SBA (EIDL) Loan                                            150,000.00

          Total Long Term Liabilities                                  724,099.68

       Total Liabilities                                               761,631.92

       Equity
         Capital Stock                                                   2,000.00
         PPA                                                           -59,907.54
         Retained Earnings                                            -375,145.39
         SBA (EIDL Targeted) Advance                                     5,000.00
         Shareholder Distributions                                        -450.00
         Net Income                                                      7,355.99

       Total Equity                                                   -421,146.94

     TOTAL LIABILITIES & EQUITY                                        340,484.98




                                                                                           Page 1
